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    2
    3           NO FURTHER EXTENSIONS
    4           WILL BE GRANTED
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    8
                            UNITED STATES DISTRICT COURT
    9
                           CENTRAL DISTRICT OF CALIFORNIA
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   11
      AMIR KAVEHRAD, DEREK                   Case No. 8:21-cv-01868 JLS-DFM
   12 WILLIAMS, and NIKITA
      BOGOLYUBOV, on behalf of
   13 themselves and all others similarly    ORDER GRANTING JOINT
      situated,                              STIPULATION TO MODIFY CASE
   14                                        SCHEDULING ORDER (Doc. 67)
                  Plaintiffs,
   15
             vs.
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      VIZIO INC.,
   17
                  Defendant.
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Case 8:21-cv-01868-JLS-DFM Document 68 Filed 06/27/23 Page 2 of 3 Page ID #:1078



    1                                       ORDER
    2        Having reviewed the parties’ Joint Stipulation to Modify Case Scheduling
    3 Order (Doc. 67), and good cause appearing, the Court hereby ORDERS that the
    4 case scheduling deadlines set forth in the Court’s November 16, 2022, Scheduling
    5 Order (Doc. 48) are continued as follows:
    6   Event                       Current Deadline          New Deadline
    7   Last Day to File a Motion August 4, 2023, with        November 3, 2023, with
    8   for Class Certification     motion hearing to be      motion hearing to be
    9                               noticed no earlier than   noticed no earlier than
  10                                September 1, 2023 (four   February 9, 2023 (14
  11                                weeks’ notice period).    weeks’ notice period).
  12    Fact Discovery Cutoff       December 29, 2023         March 29, 2024
  13    Last Day to File Motions    January 12, 2024          April 12, 2024
  14    (Excluding Daubert
  15    Motions and all other
  16    Motions in Limine)
  17    Last Day to Serve Initial   January 12, 2024          April 12, 2024
  18    Expert Reports
  19    Last Day to Serve           February 9, 2024          May 10, 2024
  20    Rebuttal Expert Reports
  21    Expert Discovery Cutoff     March 8, 2024             June 7, 2024
  22    Last Day to Conduct         March 29, 2024            June 28, 2024
  23    Settlement Proceedings
  24    Last Day to File Motions    August 23, 2024           November 22, 2024
  25    in Limine and Daubert
  26    Motions
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    1   Final Pretrial Conference   September 20, 2024    December 20, 2024
    2   (10:30 a.m.)
    3
    4
        IT IS SO ORDERED.
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    6
    7 DATED: June 27, 2023
    8                                 _________________________________________
    9                                 HON. JOSEPHINE L. STATON
                                      UNITED STATES DISTRICT JUDGE
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